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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
v. CRIMINAL NO. RDB-20-0059
ANTONIO GREEN, (Possession with the Intent to Distribute

Controlled Substances, 21 U.S.C. §
841(a)(1), Aiding and Abetting, 18
U.S.C. § 2; Forfeiture, 21 U.S.C. § 853,
28 U.S.C. § 2461(c))

Defendant.

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SUPERSEDING INFORMATION

COUNT ONE
(Possession with Intent to Distribute Cocaine)

The United States Attorney for the District of Maryland charges that:
On or about October 10, 2019, in the District of Maryland, the defendant,
ANTONIO GREEN,
did knowingly and intentionally possess with intent to distribute a mixture or substance containing
a detectable amount of cocaine, a Schedule II controlled substance.

21 U.S.C. § 841(a)
18 U.S.C. §2
Case 1:20-cr-00059-RDB Document 44 Filed 11/04/21 Page 2 of 2

FORFEITURE
FORFEITURE ALLEGATION

The United States Attorney for the District of Maryland further finds that:

1, Pursuant to Rule 32.2, Fed. R. Crim. P., notice is hereby given to the defendant that
the United States will seek forfeiture as part of any sentence in accordance with Title 21, United
States Code, Section 853, Title 18, and Title 28, United States Code, Section 2461(c), in the event
of the defendants’ convictions under Count One of this Superseding Information.

Narcotics Forfeiture

2. Upon conviction of the offense set forth in Count One incorporated here, the

defendant shall forfeit to the United States, pursuant to 21 U.S.C. § 853(a):
a. any property constituting, or derived from, any proceeds obtained, directly or
indirectly, as the result of such violations; and
b. any property used or intended to be used, in any manner or part, to commit, or
to facilitate the commission of, such violations.
Property Subject to Forfeiture
3. The property to be forfeited includes, but is not limited to, the following:

a. Kahr Arms, CT9, 9mm Luger semi-automatic pistol with serial number
BAA4175, loaded with approximately 6 rounds of ammunition.

21 U.S.C. § 853
28 U.S.C. § 2461 (c)

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Erek L. Barron
United States Attorney

November 3, 2021
Date

 

 
